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                        EXHIBIT C
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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH
 GARFIELD COUNTY, UTAH, a Utah political
 subdivision; KANE COUNTY, UTAH, a Utah
 political subdivision; and THE STATE OF UTAH, by
 and through its Governor, SPENCER J. COX, and its
 Attorney General, SEAN D. REYES,
                    Plaintiffs,
 ZEBEDIAH GEORGE DALTON; BLUERIBBON                       DECLARATION OF TONY
 COALITION; KYLE KIMMERLE; and SUZETTE                    WRIGHT IN SUPPORT OF
 RANEA MORRIS,
                                                          PLAINTIFFS’ AMENDED
                    Consolidated Plaintiffs,
                                                          COMPLAINT
           v.
 JOSEPH R. BIDEN, JR., in his official capacity as
 President of the United States; DEBRA A. HAALAND,
 in her official capacity as Secretary of Interior;
 DEPARTMENT OF THE INTERIOR; TRACY STONE-
 MANNING, in her official capacity as Director of the
                                                          Lead Case No. 4:22cv00059 DN-PK
 Bureau of Land Management; BUREAU OF LAND                Member Case No. 4:22cv00060 DN
 MANAGEMENT; THOMAS J. VILSACK, in his official
 capacity as Secretary of Agriculture; DEPARTMENT         District Judge David Nuffer
 OF AGRICULTURE; RANDY MOORE, in his official             Magistrate Judge Paul Kohler
 capacity as Chief of the United States Forest Service;
 and UNITED STATES FOREST SERVICE,
                    Defendants,
 HOPI TRIBE; NAVAJO NATION; PUEBLO OF ZUNI;
 and UTE MOUNTAIN UTE TRIBE,
              Intervenor Defendants.
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I, Tony Wright, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am over 18 years of age, of sound mind, and otherwise competent to make this

declaration. This declaration is based on my personal knowledge. I declare under penalty of

perjury under the laws of the United States the information in this declaration is true and correct.

       2.      My name is Tony Wright. I was born and raised in Kanab, Utah. I have lived in

Kanab for my entire life, except for about two years where I served in the United States Army.

       3.      I am currently the President of the Utah / Arizona ATV Club, an outdoor off-

highway vehicle recreational club. Our Club is about 20 years old, and represents over 100 family

households. We have members across a number of Western States—including Utah.

       4.      The mission of our Club is to be a social organization for ATV enthusiasts.

       5.      The Club and I are members in good standing of the BlueRibbon Coalition.

       6.      The Club engages in a number of activities. Foremost, we spend significant time—

hundreds of hours per year—on community service projects. Our members regularly volunteer as

ride instructors for young and new riders, teaching people how to responsibly and safely ride. Our

members also assist in the development and maintenance of ATV trails on public lands.

       7.      Our Club meets about once a month, and we typically have organized rides three

or so times a month. As our name suggests, our ATV rides generally take place in Arizona and

Utah. The majority of our organized rides take place on federal land. We also have a selection of

organized, large group rides every year—most notably, the annual Kanab / Kane County ATV

Jamboree, our capstone event that has multiple rides over the span of a number of days.

       8.      A few years ago, at the start of 2020, our Club worked with BLM to help develop

and build the Inchworm Arch Road. Since then, our members have dedicated hundreds of hours

to help maintain the Inchworm Arch Road so that it can be safely and sustainably used.




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       9.      For large, organized rides like our annual Jamboree, our Club needs to seek BLM

approval to host such an event on federal land. We typically need to obtain what is called a “special

recreation permit” from the agency.

       10.     For our 2020 Jamboree, BLM granted us a special recreation permit to host a large

group ride along Inchworm Arch Road (along with other trails) as part of the event.

       11.     For our 2021 Jamboree, which was held before President Biden issued his

Proclamations, BLM again granted us a special recreation permit to host a large group ride along

Inchworm Arch Road (and other trails) as part of the same event.

       12.     But in 2022, on the heels of President Biden’s Proclamations, BLM changed course.

That year, when we met with BLM to discuss the Jamboree, BLM denied our request for a permit

to use Inchworm Arch Road for part of the event.

       13.     We have again petitioned BLM to host part of this year’s Jamboree on Inchworm

Arch Road. That application is currently pending. But we have every expectation it will be denied.

       14.     Our Club has hosted large, organized rides on Inchworm Arch Road in the past,

and we would like to do so in the future. The same is true for other trails now within the Grand

Staircase-Escalante National Monument. But given President Biden’s Proclamation and the

implementing regulations that have followed, it seems we will never be able to receive the

necessary BLM approvals to do so as long as the Proclamation is in effect.

       15.     President Biden’s Proclamation is thus irreparably harming both me and our Club.

We have been prevented from carrying out certain rides that we have done in the past, and that are

important to our members’ personal, recreational, and spiritual interests. And we will be further

prevented from carrying out those rides—along with other motorized activities that require federal

approval—so long as President Biden’s Proclamation remains in effect.




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Dated: January 10, 2023



                                        /s/ Tony Wright

                                        Tony Wright




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